    Case: 1:11-cr-00479 Document #: 66 Filed: 10/26/11 Page 1 of 6 PageID #:199




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )      Case No. 11 CR 479
             v.                          )
                                         )      Hon. Sharon Johnson Coleman
GLORIA HARPER                            )
ALICE SHERROD                            )
DERRICK EUBANKS                          )
TOMMIE BODDIE, and                       )
BARRETT WHITE                            )

           PROTECTIVE ORDER DIRECTING THE INTERLOCUTORY
                     SALE OF CERTAIN PROPERTY

      This matter coming before the Court on the government, defendant Tommie

Boddie, defendant Barrett White, and defendant Derrick Eubanks’ agreed motion for

entry of a protective order directing the interlocutory sale of certain property pursuant

to the provisions of Title 21, United States Code, Section 853(e)(1)(A), and the Court

being fully advised finds as follows:

      1.     On July 13, 2011, a federal grand jury returned a multi-count indictment

charging defendants with honest services wire fraud, in violation of Title 18, United

States Code, Sections 1343 and 1346, bribery concerning programs receiving federal

funds, in violation of Title 18, United States Code, Section 666, and filing false tax

returns.

      2.     The indictment seeks forfeiture to the United States, pursuant to 18

U.S.C. §981(a)(1)(c), as incorporated by 28 U.S.C. § 2461(c), of any and all right, title,

and interest the defendants may have in any property constituting and derived from

the proceeds traceable to the wire fraud violations, including the following business
    Case: 1:11-cr-00479 Document #: 66 Filed: 10/26/11 Page 2 of 6 PageID #:200




vehicles:

            YEAR, MAKE, MODEL               VEHICLE NUMBER
      1988 MCI Hawkeye                                   1TUCH6A7JR006746
      1990 Chevrolet Pickup                             1GCGK24K8LE136917
      1994 International Bus                           1HVBAZRP6RH592426
      1995 GMC Bus                                      1GDHG31K4SF508113
      1995 GMC Bus                                      1GDHG31Y2TF503370
      1995 Navistar Bus                                1HVBBABP8SH265427
      1995 Navistar Bus                                1HVBBABPXSH265428
      1996 Chevrolet Bluebird                           1GBHG31K8TF107660
      1996 Ford Aerotech                                1FDLE40F7THA82479
      1997 Bluebird Bus                                 1BAAKCSA9VF070360
      1997 Mercury Villager GS                         4M2DV11166VDJ05653
      1997 Thomas Bus                                   4CDT7AM2XS2700835
      1998 Bluebird Bus                                1BAAKCSH0WF082282
      1998 Bluebird Bus                                1BAAHCSH0WF082281
      1998 Chevrolet                                    1GBHG31R2W1088599
      1998 Chevrolet GMC 3500 Bus                       1GDHG31F2W1076479
      1998 Chevrolet Venture GS                        1GNDX03EXWD299249

      Van
      1998 Ford Windstar GL Van                        2FMZA51U4WBC70922
      1998 International Bluebird                      1HVBBABP6WH634954

      Bus
      1999 Bluebird Bus                                1BAAKCSH4XF088345
      1999 Dodge Grand Caravan                          2B4GP24G4XR159744
      1999 Dodge Grand Caravan                          1B4GP44G1XB602085
      1999 GMC Bluebird                                 1GDL7T1C0WJ514089
      1999 International                               1HVBBABP0XH237175
      1999 International Amtran                        1HVBBABP6XH202091
      1999 International Amtran                        1HVBBABP1XH202094
      1999 Pontiac Van Montana                         1GMDU06E0XD176361
      1999 Pontiac Van Montana                         1GMDX03E8XD325837
      2000 Bluebird Bus                                  1GDL7T1C5YJ514835
      2000 Dodge Van                                     2B4GP2537YR852062
      2000 GMC Bluebird                                  1GD67T1C2XJ515102
      2000 GMC Bluebird                                 1GDL7T1C1XJ518203
      2000 GMC Corbeil/Bus                               1GDJG31F1Y1202920
      2000 GMC Corbeil/Bus                               1GDJG31F6Y1202833
      2000 International Amtran                        1HVBBAAP9YH302754
      2001 Chevrolet Venture LS                         1GNDX03E01D128325
      2001 Dodge Grand Caravan                           2B8GP44G61R116489
      2002 Chevrolet Venture                            1GNDX03E82D159808
      2002 Dodge Van                                     2B4GP44R82R705662
      2002 Pontiac Montana                             1GMDU23EX2D111428
    Case: 1:11-cr-00479 Document #: 66 Filed: 10/26/11 Page 3 of 6 PageID #:201



      2006 Chevrolet Uplander                                1GNDV33L06D126720
      2007 GMC Van                                            1GDFG15T571141046




      3.     The United States, defendant Tommie Boddie, defendant Barrett White,

and defendant Derrick Eubanks request action by this Court because financial

responsibilities relating to the subject vehicles are burdensome, including the storage

and maintenance of the vehicles. Moreover permitting the sale of the vehicles now

would increase the amount, after satisfaction of obligations, that will be available for

forfeiture to the United States upon conviction.

      4.     Pursuant to 21 U.S.C. § 853, this Court has jurisdiction to enter orders

or to take other action to preserve and to protect property to insure that the property

or its equity will be available for forfeiture in the event of conviction.

      5.     Title 21, United States Code, Section 853(e)(1) provides in pertinent part:

             Upon application of the United States, the Court may enter a restraining
             order or injunction, require the execution of a satisfactory performance
             bond, or take any other action to preserve the availability of property
             described in subsection (a) of this section for forfeiture under this section -

                    (A)    upon the filing of an indictment or information
                    charging a violation of this subchapter or subchapter II of
                    this chapter for which criminal forfeiture may be ordered
                    under this section and alleging that the property with
                    respect to which the order is sought would, in the event of
                    conviction, be subject to forfeiture under this section.

      6.     Accordingly, in order to preserve the availability of the equity in the

vehicle subject to forfeiture this court shall enter a protective order directing the

interlocutory sale of the vehicles by the United States Marshals Service, and that the

proceeds from the sale, after payment of certain verifiable costs, be retained in an
    Case: 1:11-cr-00479 Document #: 66 Filed: 10/26/11 Page 4 of 6 PageID #:202




escrow account maintained by the United States Marshals Service, pending further

order of this Court.

      7.      Further, that to the extent the United States Marshals Service incurs

certain costs, the United States Marshals Service shall be permitted to deduct from the

proceeds of the sale of the vehicle, any reasonable and necessary costs incurred to

effectuate the sale of the vehicle and costs incurred to maintain the vehicle, if any,

pending sale.

      Accordingly, it is hereby ORDERED, ADJUDGED, AND DECREED:

      (a)     That, the agreed motion for entry of a protective order allowing the

interlocutory sale of:



           YEAR, MAKE, MODEL                  VEHICLE NUMBER
      1988 MCI Hawkeye                                     1TUCH6A7JR006746
      1990 Chevrolet Pickup                               1GCGK24K8LE136917
      1994 International Bus                             1HVBAZRP6RH592426
      1995 GMC Bus                                        1GDHG31K4SF508113
      1995 GMC Bus                                        1GDHG31Y2TF503370
      1995 Navistar Bus                                  1HVBBABP8SH265427
      1995 Navistar Bus                                  1HVBBABPXSH265428
      1996 Chevrolet Bluebird                             1GBHG31K8TF107660
      1996 Ford Aerotech                                  1FDLE40F7THA82479
      1997 Bluebird Bus                                   1BAAKCSA9VF070360
      1997 Mercury Villager GS                           4M2DV11166VDJ05653
      1997 Thomas Bus                                     4CDT7AM2XS2700835
      1998 Bluebird Bus                                  1BAAKCSH0WF082282
      1998 Bluebird Bus                                  1BAAHCSH0WF082281
      1998 Chevrolet                                      1GBHG31R2W1088599
      1998 Chevrolet GMC 3500 Bus                         1GDHG31F2W1076479
      1998 Chevrolet Venture GS                          1GNDX03EXWD299249

      Van
      1998 Ford Windstar GL Van                          2FMZA51U4WBC70922
      1998 International Bluebird                        1HVBBABP6WH634954

      Bus
    Case: 1:11-cr-00479 Document #: 66 Filed: 10/26/11 Page 5 of 6 PageID #:203



      1999 Bluebird Bus                                   1BAAKCSH4XF088345
      1999 Dodge Grand Caravan                             2B4GP24G4XR159744
      1999 Dodge Grand Caravan                             1B4GP44G1XB602085
      1999 GMC Bluebird                                    1GDL7T1C0WJ514089
      1999 International                                  1HVBBABP0XH237175
      1999 International Amtran                           1HVBBABP6XH202091
      1999 International Amtran                           1HVBBABP1XH202094
      1999 Pontiac Van Montana                            1GMDU06E0XD176361
      1999 Pontiac Van Montana                            1GMDX03E8XD325837
      2000 Bluebird Bus                                     1GDL7T1C5YJ514835
      2000 Dodge Van                                        2B4GP2537YR852062
      2000 GMC Bluebird                                     1GD67T1C2XJ515102
      2000 GMC Bluebird                                    1GDL7T1C1XJ518203
      2000 GMC Corbeil/Bus                                  1GDJG31F1Y1202920
      2000 GMC Corbeil/Bus                                  1GDJG31F6Y1202833
      2000 International Amtran                           1HVBBAAP9YH302754
      2001 Chevrolet Venture LS                            1GNDX03E01D128325
      2001 Dodge Grand Caravan                              2B8GP44G61R116489
      2002 Chevrolet Venture                               1GNDX03E82D159808
      2002 Dodge Van                                        2B4GP44R82R705662
      2002 Pontiac Montana                                1GMDU23EX2D111428
      2006 Chevrolet Uplander                              1GNDV33L06D126720
      2007 GMC Van                                          1GDFG15T571141046




shall be sold at the direction of the United States Marshals Service; it is further

ordered,

      (b)    That, the proceeds from the sale of the subject vehicle, after the payment

of verifiable costs, shall be retained in the Seized Assets Deposit Fund by the United

States Marshals Service pending further order of this Court; it is further ordered,

      (c)    That the United States Marshal service shall be permitted to inspect and

seize the vehicles to effectuate the interlocutory sale and defendants shall execute any

documents necessary to effectuate the interlocutory sale of the vehicles; it is further

ordered,

      (d)    That, the United States Marshal Service may incur certain costs and shall
    Case: 1:11-cr-00479 Document #: 66 Filed: 10/26/11 Page 6 of 6 PageID #:204




be permitted to deduct from the proceeds of the sale of the subject vehicle, any

reasonable and necessary costs incurred to effectuate the sale of the vehicle to

maintain the vehicle, if any, pending sale; it is further ordered,

      (e)    This Court shall retain jurisdiction in this matter to take additional action

and enter further orders as necessary to implement and enforce this protective order

directing the interlocutory sale of the above-identified real property.




                                         _____________________________
                                         Sharon Johnson Coleman
                                         United States District Judge

DATED: October 26, 2011
